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Information to identify the case:
Debtor 1              James M. Loller                                                  Social Security number or ITIN     xxx−xx−5897
                      First Name   Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                               Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                       EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Delaware
                                                                                       Date case filed for chapter 7 4/12/19
Case number:          19−10826−LSS


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

Debtors: Valid Picture ID is required for access to the J. Caleb Boggs Federal Building. Additionally, Debtor(s) must
also present photo ID plus original verification of his/her social security number to the Bankruptcy Trustee. If you do
not have a photo ID and/or original verification of your social security number, please contact the Office of the United
States Trustee's (302−573−6491).



                                                 About Debtor 1:                                 About Debtor 2:

1.      Debtor's full name                       James M. Loller

2.      All other names used in the
        last 8 years

3.     Address                               132 Boxwood Drive
                                             Middletown, DE 19709

4.     Debtor's attorney                     Lacy E. Holly III                                   Contact phone 302 376−5850
                                             Lacy E. Holly, III, PA
       Name and address                      603 Main Street                                     Email: lacyholly@lacyholly.com
                                             P.O. Box 700
                                             Odessa, DE 19730

5.     Bankruptcy trustee                    Alfred T. Giuliano                                  Contact phone 856−767−3000
                                             Giuliano Miller & Co., LLC
       Name and address                      Berlin Business Park                                Email: atgiuliano@giulianomiller.com
                                             140 Bradford Drive
                                             West Berlin, NJ 08091
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Debtor James M. Loller                                                                                                 Case number 19−10826−LSS


6. Bankruptcy clerk's office                      824 Market Street, 3rd Floor                                  Hours open: Monday − Friday 8:00
                                                  Wilmington, DE 19801                                          AM − 4:00 PM
    Documents in this case may be filed at this
    address. You may inspect all records filed                                                                  Contact phone 302−252−2900
    in this case at this office or online at
    www.pacer.gov.
                                                                                                                Date: 4/12/19

7. Meeting of creditors                           May 8, 2019 at 12:00 PM                                       Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a                844 King Street, Room 3209,
    questioned under oath. In a joint case,       later date. If so, the date will be on the court              Wilmington, DE 19801
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                   Filing deadline: 7/8/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                             Filing deadline: 28 days after the
                                                  The law permits debtors to keep certain property as           conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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